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                            IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF UTAH


 UNITED STATES OF AMERICA
                                                    MEMORANDUM DECISION AND
                 Plaintiff,                         ORDER DENYING DEFENDANT’S
 v.                                                 MOTION TO DISMISS

 BARRY DEE BENNETT,
                                                    Case No. 2:24-CR-205-TS
                 Defendant.
                                                    District Judge Ted Stewart



       This matter is before the Court on Defendant’s Motion to Dismiss Count II of the

Indictment. 1 For the reasons explained below, the Court will deny the Motion.

       On or about June 19, 2024, law enforcement officers executed a search warrant on

Defendant Barry Bennett’s residence. During the search, officers allegedly discovered six

firearms and a distributable amount of methamphetamine. Defendant was subsequently charged

with Possession of Methamphetamine with Intent to Distribute in violation of 18 U.S.C. §

841(a)(1) (Count I) and Felon in Possession of a Firearm and Ammunition in violation of 18

U.S.C. 922(g)(1) (Count II). 2 Defendant moves to dismiss Count II on the grounds that Section

922(g)(1) is unconstitutional, as applied to him, under the Supreme Court’s decisions in New

York State Rifle & Pistol Association, Inc. v. Bruen 3 and United States v. Rahimi. 4

       In support of his position, Defendant argues that, in Rahimi “[p]ossessing a weapon in a

menacing or threatening manner was . . . a threshold for why the prohibition was relatively


       1
           Docket No. 47.
       2
           Docket No. 1.
       3
           597 U.S. 1 (2022).
       4
           602 U.S. 680 (2024).
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similar with laws around the time of our nation’s inception.” 5 Because Defendant was found to

be possessing firearms “passively” and not in a manner threatening to others, and because his

criminal history includes only non-violent and dated crimes, Defendant argues § 922(g)(1) is

unconstitutional as applied to him. 6

       Since the time Defendant filed the instant Motion, the Tenth Circuit issued its decision in

Vincent v. Bondi, 7 wherein the Tenth Circuit “upheld the constitutionality of § 922(g)(1) without

drawing constitutional distinctions based on the type of felony involved.” 8 In reaching this

conclusion, the Tenth Circuit considered whether the Rahimi decision required the Court to

depart from its decision in United States v. McCane, 9 which found § 922(g)(1) to be

constitutional “without drawing constitutional distinctions between the type of felony

involved.” 10 Upon finding that McCane had not been “indisputably and pellucidly abrogated” by

Rahimi, the Tenth Circuit concluded that “the Second Amendment doesn’t prevent application of

§ 922(g)(1) to nonviolent offenders like [the defendant].” 11 Based on this clear and controlling

precedent from the Tenth Circuit, the Court concludes that § 922(g)(1) is constitutional as

applied to Defendant and will, accordingly, deny his Motion to dismiss Count II.




       5
           Docket No. 47, at 6.
       6
           Id.
       7
           127 F.4th 1263 (10th Cir. 2025).
       8
           Id. at 1266.
       9
           573 F.3d 1037 (10th Cir. 2009).
       10
            Vincent, 127 F.4th at 1266.
       11
            Id.
                                                 2
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     It is therefore

     ORDERED that Defendants’ Motion to Dismiss (Docket No. 47) is DENIED.

     DATED this 9th day of April, 2025.

                                              BY THE COURT:



                                              Ted Stewart
                                              United States District Judge




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